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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ANACONDA, INC.,                                     )
                                                    )
                          Plaintiff,                )     C.A. No. ____________________
                                                    )
         v.                                         )
                                                    )     DEMAND FOR JURY TRIAL
INTEL CORPORATION,                                  )
                                                    )
                          Defendant.                )

                                             COMPLAINT

         Plaintiff Anaconda, Inc. (“Anaconda” or “Plaintiff”) brings this complaint against

Defendant Intel Corporation (“Intel” or “Defendant”) and alleges as follows:

                                       NATURE OF THE ACTION

         1.        This is a civil action for the infringement, under the copyright laws of the United

States, 17 U.S.C. § 101, et seq., of proprietary material registered under U.S. Copyright No.

TX 9-407-381 (“Asserted Copyright”) in violation of 17 U.S.C. § 501.

         2.        Anaconda developed a technology that has become critical to the booming artificial

intelligence (“AI”) industry—one that is used by over 40 million users at over one million

companies worldwide. Intel is one of those companies. For years, Intel bought licenses allowing

it to integrate Anaconda’s copyrighted and proprietary technology into its flagship AI software

product, enabling Intel to gain a foothold in the AI market and sell more processors. Intel stopped

paying for those licenses, but it did not stop using Anaconda’s technology—to this day, Intel’s AI

software product includes Anaconda’s proprietary material. Anaconda is filing this lawsuit to halt

and seek compensation for Intel’s blatant and willful infringement of Anaconda’s rights.




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                                   SUMMARY OF THE DISPUTE

         3.        This is a straightforward case of infringement of Anaconda’s valuable intellectual

property. Intel intentionally leveraged Anaconda’s technological innovations to improve Intel’s

own products and establish its foothold in the now-booming artificial intelligence (“AI”) market.

Although Intel has received, and continues to receive, commercial benefits from Anaconda’s

developments and intellectual property—including increased sales of Intel processors—Intel now

refuses to pay for those same innovations.

         4.        AI developers rely on hundreds of different “packages” of open-source software,

typically written in the Python or R programming languages, to build the software platforms on

which AI development can occur. Building an AI development platform in this manner is not

unlike building a house—there are parts of the platform that are dependent on other component

parts, and the component parts of the platform must be compatible with each other. For instance,

software packages may be dependent on other packages in the same way the roof of a house is

dependent on the walls. Moreover, different versions of open-source packages may not be

compatible with each other, particularly as the packages are modified and updated by different

developers over time. So, in addition to confirming that all dependent packages are in place, an

AI developer must ensure that all packages used in a project are compatible with each other, like

the floorboards of a house must be measured and fit together properly within the house frame.

Because the number of packages used to build AI platforms are often voluminous, those

dependencies can become extraordinarily complicated.            Further complicating this exercise,

packages are created and maintained by disparate and independent parties who may change the

packages at any time and do not always test or otherwise ensure the compatibility of their packages




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with other packages commonly used by AI developers. Managing these dependencies and

compatibilities in a large project can become overwhelmingly burdensome for a developer.

         5.        Anaconda solved this problem for the industry by building a software product

called “conda,” which Anaconda makes freely available to customers under an open-source

software license. “conda” is a “package manager” that has the ability to ensure the installation of

all dependent software packages, and verify the compatibility of all software packages, when

building an AI development platform. But the conda program can only perform these functions if

it is given conda-compatible software packages—that is, software packages with code added to

them that the conda software can read.

         6.        Anyone can develop their own conda-compatible packages without paying

Anaconda anything, and many companies do. But Anaconda recognized a need in the marketplace

for someone to undertake the painstaking effort to create conda-compatible versions of the open-

source software packages used by data scientists and AI developers. At extraordinary effort and

expense, Anaconda wrote and has maintained over 8,000 (and counting) such conda-compatible

packages. The “Anaconda Distribution,” which is at issue here and is protected by the Asserted

Copyright, includes hundreds of the most popular conda-compatible packages. Anaconda provides

a free license to individuals and small businesses to access the conda-compatible packages

Anaconda developed. But Anaconda requires large companies that use its conda-compatible

packages—like Intel—to pay a license fee to use Anaconda’s proprietary material.

         7.        Intel previously entered into license agreements with Anaconda and benefitted from

Anaconda’s AI tools and data science platforms, including the Anaconda Distribution and

Anaconda’s conda-compatible packages. Under those license agreements, Intel availed itself of

Anaconda’s technological innovations, gained access to over 45 million users of conda worldwide,



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and integrated Anaconda’s proprietary material into its own internal software and development

platforms. Intel also embedded Anaconda’s proprietary material into Intel’s own AI development

platform that Intel distributes to its customers and markets as its own.

         8.        Intel’s license agreements with Anaconda expired, and Intel failed to renew them.

At that point, Intel could have chosen to develop its own conda-compatible software packages, but

it did not. Instead, to this day, it continues to use and distribute Anaconda’s conda-compatible

packages without permission and without payment. Each of Anaconda’s overtures to Intel to re-

establish a license have unfortunately been met with disregard, necessitating this filing.

         9.        Anaconda seeks to bring an end to Intel’s unlawful use and commercialization of

Anaconda’s valuable copyrighted material. Anaconda respectfully seeks an injunction, along with

the other remedies described below, to stop Intel’s improper and willful acts of copyright

infringement.

                                                PARTIES

         10.       Plaintiff Anaconda is a Delaware corporation with a principal place of business at

1108 Lavaca Street, Suite 110-645, Austin, Texas, 78701, United States.

         11.       Defendant Intel is a Delaware corporation with a principal place of business at 2200

Mission College Boulevard, Santa Clara, California, 95054, United States.

                                    JURISDICTION AND VENUE

         12.       This action arises under the copyright laws of the United States, Title 17 of the

United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

         13.       The Court has personal jurisdiction over Intel because it is a Delaware corporation.

         14.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1400(a).



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                                    FACTUAL BACKGROUND

                             Conda Packages and the conda Ecosystem

         15.       Anaconda is a privately held company founded in 2012 to simplify the management

and deployment of scientific and analytic software packages so that researchers and businesses can

easily leverage those data science packages in business data solutions. Thanks to Anaconda’s

innovations, including those described in this complaint, the demand for Anaconda’s offerings has

expanded. Today, Anaconda’s footprint includes over 40 million users at more than one million

companies worldwide.

         16.       “Packages” are collections of software modules and functions that software

developers can re-use to perform common tasks. In the scientific and engineering field, and

particularly in the field of AI and machine learning, researchers commonly use independently

developed and maintained software packages to perform operations critical to their research and

work. For example, a developer performing a data analysis might want to use any number of

common open-source packages—e.g., “pandas,” a data analysis and manipulation tool, “NumPy,”

a tool that manipulates large arrays of numbers, and “SciPy,” a tool that provides various

mathematical modules used in science and engineering—to read and write data, perform numerical

integration and interpolation, and use linear algebra, without having to write the necessary source

code from scratch. Developers commonly utilize and combine any number of these separate

packages together in a single project.

         17.       When working on a given project, a developer can utilize a development

“environment,” which is a directory that contains a specific collection of packages that a developer

has installed. By using different environments for different projects, software developers ensure

that packages within one environment remain independent of, and are unaffected by, packages



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used in another environment, much as using different user profiles on a computer allows users to

keep their files and settings separated from those of other users.

         18.       In 2012, long before the current explosion of machine learning development,

Anaconda developed conda, an open-source package-management system and environment-

management system designed to help programmers conduct scientific computing. Anaconda

observed that data science programmers experienced hurdles in developing new programs and

research because the hundreds—if not thousands—of individual software packages used in

scientific computing were created and maintained by different organizations and individuals. The

packages did not always work well when installed together in the same environment, which could

result in errors, program failure, or inaccurate or unpredictable results. Anaconda’s conda system

transformed the experience of installing packages.          Rather than leaving troubleshooting

compatibility among and between packages to the individual software developer, conda

automatically analyzes all of the software packages installed in a software environment, identifies

all dependencies and compatibilities, and warns the developer if the packages cannot be installed

together in a compatible way.

         19.       The conda package- and environment-management software is free and open

source. But there is much more to using conda than just installing the conda software itself. In

order to use packages in the conda environment, a user must install conda-compatible packages,

or versions of software packages that have been prepared for the conda environment. Anyone can

build a conda-compatible package, which contains the underlying software distribution for the

package, compiled objects for the package, a package-building recipe, and associated files

enabling use of the package within the conda environment. Anyone can also create a conda

“channel,” or a location where conda-compatible packages are stored and can be downloaded by



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others. For example, “Bioconda” is a conda channel that contains conda-compatible packages

related to biomedical research.1 Many conda-compatible packages are free to download, but some

conda channels restrict who can use the packages hosted on those channels.

                                     The Anaconda Distribution

          20.      One of Anaconda’s most popular offerings, the Anaconda Distribution, provides

everything a software developer needs to quickly get started programming by including the most

commonly used data science, AI, and machine learning conda-compatible packages and all the

software needed to use those packages in a conda environment. The Anaconda Distribution

bundles popular conda-compatible packages that enable a user-friendly experience with conda and

configures those packages so that they are easy to install and use. The Anaconda Distribution

currently includes access to:

         Over 250 default software packages curated for data science, machine learning, and data
          visualization, and the ability to access and download over 8,000 packages, all pre-
          configured and ready for deployment on Anaconda’s platform;

         conda (Anaconda’s cross-platform, language-agnostic command line package and
          environment manager);

         The latest version of the Python programming language supported by the Anaconda
          Distribution; and

         Anaconda Navigator (a graphical user interface for launching and managing packages and
          environments).

          21.      The over 250 conda-compatible packages in the Anaconda Distribution reflect the

heart of the Anaconda Distribution and Anaconda’s offerings. The Anaconda repository also

offers thousands of additional conda-compatible versions of packages for research and

development in AI, machine learning, and other data science. While many packages embody free




1
    https://bioconda.github.io/

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and open-source software and could be separately downloaded and compiled by developers,

Anaconda’s conda package manager software provides a seamless and user-friendly way to use

and manage the conda-compatible packages in the Anaconda Distribution and the Anaconda

repository. Anaconda securely hosts its conda-compatible packages and maintains, methodically

tests, and updates the conda-compatible versions of those packages in the Anaconda Distribution

and the Anaconda repository. All packages and libraries in the Anaconda Distribution and the

Anaconda repository are pre-configured by Anaconda to ensure that the packages work with each

other in a conda environment without errors. Anaconda tracks changes to the conda-compatible

packages and libraries it makes available, and Anaconda updates the Anaconda Distribution to

ensure that any changes to underlying packages are accounted for and any necessary dependencies

or conflicts are updated.

         22.       Anaconda’s conda-compatible packages in the Anaconda Distribution and the

Anaconda repository also provide Anaconda’s users with the ability to manage their environments

and ensure that packages continue to operate as expected and without errors when software is

changed and updated. For example, when a new version of a given package is released that is

incompatible with a prior version of a different package, conda will warn a user about this

incompatibility before updating the package. The pre-configured conda-compatible packages

available through the Anaconda Distribution and the Anaconda repository include proprietary

instructions developed by Anaconda that reflect information concerning package management,

tracking, and security. While a programmer could separately download, compile, install, and test

conda and the hundreds (if not thousands) of separately maintained software packages for

compatibility, it would be burdensome for an individual programmer to undertake such a task.

Since Anaconda’s proprietary instructions within the Anaconda Distribution and the Anaconda



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repository ensure package compatibilities, users are no longer distracted by package management

issues and can instead focus on using the packages for their own projects.

         23.       Anaconda provides the Anaconda Distribution to the public as a free download,

subject to the Anaconda Terms of Service. Packages within the Anaconda package repository are

also free to download, subject to the Anaconda Terms of Service. The Anaconda Terms of Service

specify that “registration, download, use, installation, access, or enjoyment of all Anaconda

Offerings on behalf of an organization that has two hundred (200) or more employees or

contractors (‘Organizational Use’) requires a paid license of Anaconda Business or Anaconda

Enterprise.”2 Anaconda’s public pricing page also specifies up front that “Use of Anaconda’s

Offerings at an organization of more than 200 employees requires a Business or Enterprise

license.”3 Additionally, the Anaconda Terms of Service specify that, upon termination of a paid

Anaconda license, a former licensee must “stop using the Anaconda Offering(s) and destroy any

copies of Anaconda Proprietary Technology and Confidential Information within Your control.”

                            The Asserted Copyright and Protected Work

         24.       The Asserted Copyright, for a work titled “Anaconda Distribution and Associated

Packages Release 2024.02-01” was registered with the U.S. Copyright Office with Registration

No. TX-9-407-381. A copy of the registration certificate for the Asserted Copyright is attached as

Exhibit A.

         25.       Anaconda is the owner of all rights, title, and interest in and to the Asserted

Copyright.




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    https://legal.anaconda.com/policies/en?name=terms-of-service#terms-of-service
3
    https://www.anaconda.com/pricing

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         26.       The copyrighted work reflected in the Asserted Copyright is Release 2024.02-01 of

the Anaconda Distribution and the associated Anaconda conda-compatible packages.                    As

described above, the Anaconda Distribution provides everything software developers need to get

started on developing AI, machine learning, and other data science projects as quickly and

seamlessly as possible. It provides a comprehensive package- and environment-management

system that allows users to install, run, and update packages and their dependencies for

Anaconda’s users’ projects in a variety of science, engineering, and other data-intensive contexts.

         27.       The specific selection and arrangement of packages, libraries, code, and other files

in the Anaconda Distribution represents the exercise of discretion and creativity of Anaconda’s

employees and engineers.

         28.       The Anaconda Distribution and associated conda-compatible packages also contain

proprietary material that Anaconda’s engineers and employees created at significant effort and

expense (“Proprietary Components”), including the proprietary computer instructions critical to

providing the smooth and easy user experience driving Anaconda’s mission and business success.

The Proprietary Components reflect Anaconda’s own exercise of discretion, judgment, and design

choices in describing how the various versions of the thousands of packages can optimally operate

together. By providing a design through which the packages can interoperate cooperatively with

each other, the proprietary computer instructions developed by Anaconda operate as a blueprint

for building AI development platforms within the conda environment.

         29.       Anaconda’s Proprietary Components are extremely valuable and attract

Anaconda’s customers to its platform. Anaconda owns all rights to its Proprietary Components in

all versions of the Anaconda Distribution.




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          Intel’s Infringement of the Anaconda Distribution and Associated Packages

         30.       Intel previously assented to Anaconda’s Terms of Use and paid for a license to use

the Anaconda Distribution and Anaconda’s conda-compatible packages within the Anaconda

repository, including the Proprietary Components. Intel subsequently allowed that license to lapse

but continues to use, copy, and distribute Anaconda’s valuable intellectual property without

permission. Although Anaconda repeatedly urged Intel to renew its license, Intel refused to pay

for its continued use of the Anaconda Distribution and the Anaconda repository. Intel is infringing

Anaconda’s Asserted Copyright by using the Anaconda Distribution and the associated conda-

compatible packages, including the Proprietary Components, both internally and externally.

         31.       First, on information and belief, Intel, without Anaconda’s authorization,

reproduces and creates derivative works based on Anaconda’s Proprietary Components and other

protectable elements of the Anaconda Distribution by using the Anaconda Distribution and

associated conda-compatible packages for internal purposes. On information and belief, Intel

allowed its employees to continue using the Anaconda Distribution and Anaconda’s conda-

compatible packages, including the Proprietary Components, following expiration of Intel’s

Anaconda license. On information and belief, Intel further allowed internal Intel software tools to

continue to access the Anaconda Distribution and Anaconda’s conda-compatible packages,

including the Proprietary Components, following expiration of Intel’s Anaconda license.

         32.       Second, on information and belief, Intel, without Anaconda’s authorization,

reproduces, creates derivative works based on, and distributes Anaconda’s Proprietary

Components and other protectable elements of the Anaconda Distribution and Anaconda’s conda-

compatible packages by distributing Intel’s “AI Analytics Toolkit,” or “AI Kit.” Intel advertises

its AI Kit as providing “End-to-End Python Data Science and AI Acceleration” with “[p]roducts

[that] are grouped to meet common AI workloads like machine learning, deep learning, and

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inference optimization,” and that users “can customize them to choose only the tools you need

from conda . . . repositories.”4

         33.       The benefits provided by Intel’s use and integration of the Anaconda Distribution

and Anaconda’s conda-compatible packages are touted by Intel itself. Intel advertises that the AI

Kit “enable[s] AI developers to streamline the process of introducing AI into their applications,

enhancing existing intelligent solutions and accelerating deployment,” resulting in “proven

performance improvements with a shorter, more productive workflow versus a traditional model

development workflow.”5 Intel’s AI Kit has enabled it to achieve “significant milestone[s]” such

as “surpassing 500 pre-trained AI models running optimized on Intel Core Ultra processors,”6

creating more demand for its processors and pushing its stock price up.

         34.       Until recently, Intel hosted a public Anaconda repository containing Anaconda’s

conda-compatible packages, including Proprietary Components and other elements protected by

the Asserted Copyright. Intel directed its AI Kit users to download those components to install

the AI Kit:7




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  https://www.intel.com/content/www/us/en/developer/topic-technology/artificial-
intelligence/development-software.html
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    https://www.businesswire.com/news/home/20230724121115/en/
6
    https://www.businesswire.com/news/home/20240501925881/en/
7
  https://www.intel.com/content/www/us/en/docs/oneapi/installation-guide-linux/2023-0/install-
intel-ai-analytics-toolkit-via-conda.html

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         35.       On information and belief, Intel’s AI Kit includes copies of elements of the

Anaconda Distribution and Anaconda’s conda-compatible packages protected by the Asserted

Copyright. Many packages that were hosted on the Intel Anaconda repository containing the AI

Kit were copied directly from Anaconda and contained identical digital signatures to the

copyrighted conda-compatible packages in the Anaconda Distribution and the Anaconda

repository.

         36.       On information and belief, after Anaconda informed Intel of its infringing acts,

rather than ceasing use of the Anaconda Distribution and Anaconda’s conda-compatible packages

or engaging with Anaconda to continue to license their use, Intel simply copied the infringing

content from the Anaconda-hosted repository referenced in Intel’s AI Kit instructions to an Intel-

hosted repository.

         37.       While the Anaconda Distribution and Anaconda’s conda-compatible packages

include some open-source features and components, Intel’s reproduction of, creation of derivative

works based on, and distribution of the Anaconda Distribution and Anaconda’s conda-compatible

packages are not limited to those open-source components. Intel copied entire conda-compatible

packages, precisely as released by Anaconda and including all components protected by the

Asserted Copyright, and improperly distributed them as its own.

                                              COUNT I
                                   Direct Copyright Infringement

         38.       Anaconda realleges and incorporates by reference the allegations set forth in the

preceding paragraphs of this complaint.

         39.       Anaconda owns the Asserted Copyright, which is valid and enforceable and

protects the Anaconda Distribution, Anaconda’s associated conda-compatible packages, and all

copyrightable elements of the Anaconda Distribution and the associated conda-compatible


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packages, including the Proprietary Components. The Asserted Copyright was properly registered

with the U.S. Copyright Office prior to instituting this action for copyright infringement.

         40.       Intel lacks authorization, license, or permission from Anaconda to reproduce,

prepare derivative works based on, distribute to the public, or export the Anaconda Distribution,

Anaconda’s associated conda-compatible packages, the Proprietary Components, or any other

elements protected by the Asserted Copyright.

         41.       Through the acts alleged above, Intel has violated, and is continuing to violate,

Anaconda’s exclusive rights to reproduce, prepare derivative works based on, distribute to the

public, and export the Anaconda Distribution and Anaconda’s associated conda-compatible

packages, in violation of 17 U.S.C. §§ 106, 501, and 602.

         42.       On information and belief, Intel was and remains aware that the Anaconda

Distribution, Anaconda’s associated conda-compatible packages, and elements of those works,

including the Proprietary Components, are protected by copyright, or acted or is acting in reckless

disregard of the possibility that it was infringing and continues to infringe the copyrightable

elements protected by the Asserted Copyright. On information and belief, Intel purposefully and

without authorization downloads, uses, and incorporates into its own platforms protectable

elements of the Anaconda Distribution and Anaconda’s associated conda-compatible packages,

including the Proprietary Components. Intel was aware, and remains aware, that it improperly

downloads, uses, and incorporates those protectable elements of the Anaconda Distribution and

Anaconda’s associated conda-compatible packages. At a minimum, Intel was put on notice of its

acts of copyright infringement as of June 6, 2024, when Anaconda sent Intel a letter identifying

evidence of Intel’s improper acts. Thus, Intel’s violations of Anaconda’s exclusive rights were,

and continue to be, knowing, intentional, and willful.



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                                              COUNT II
                           Secondary Liability for Copyright Infringement

         43.       Anaconda realleges and incorporates by reference the allegations set forth in the

preceding paragraphs of this complaint.

         44.       Anaconda owns the Asserted Copyright, which is valid and enforceable and

protects the Anaconda Distribution, Anaconda’s associated conda-compatible packages, and all

copyrightable elements of the Anaconda Distribution and the associated conda-compatible

packages, including the Proprietary Components. The Asserted Copyright was properly registered

with the U.S. Copyright Office prior to instituting this action for copyright infringement.

         45.       On information and belief, at least some users of the AI Kit and any infringing

platforms purchased or provided from or by Intel lack authorization, license, or permission from

Anaconda to reproduce the Anaconda Distribution, Anaconda’s associated conda-compatible

packages, or any copyrightable elements in the same.

         46.       Through the acts alleged above, at least some users of Intel’s platforms are engaged

in acts of direct copyright infringement, including by reproducing the copyrightable elements

within the Anaconda Distribution and Anaconda’s associated conda-compatible packages,

including the Proprietary Components, as contained within Intel’s AI Kit. On information and

belief, when developing, marketing, and distributing Intel’s AI Kit, Intel was and remains aware,

or willfully blind, that its customers’ use of Intel’s AI Kit would result in the infringement of the

Anaconda Distribution, Anaconda’s associated conda-compatible packages, and the copyrightable

elements protected by the Asserted Copyright. Through at least the acts alleged above, Intel

knowingly induced, caused, and materially contributed to, and continues to induce, cause, and

materially contribute to, those acts of direct infringement by its Intel customers. Intel is therefore

liable for contributory copyright infringement.


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         47.       On information and belief, Intel has a direct financial interest in its customers’

infringing activities. Intel profits from its customers’ ongoing use of the infringing aspects of

Intel’s AI Kit, including by making AI development for Intel chips easier and more streamlined,

thereby creating more demand for Intel’s processors and increasing its stock price. On information

and belief, Intel also has the right and ability to supervise or control its customers’ use of Intel’s

AI Kit (and therefore its customers’ infringing activities). Intel could prevent its customers’ acts

of infringement by, among other things, removing the infringing components from the AI Kit

and/or replacing them with conda-compatible packages created by Intel. Intel is therefore liable

for vicarious copyright infringement.

                                       PRAYER FOR RELIEF

         WHEREFORE, Anaconda prays for the following relief:

         A.        Judgment of copyright infringement and/or willful copyright infringement of the

Asserted Copyright;

         B.        A permanent injunction ordering Intel, and its officers, directors, members, agents,

servants, employees, and attorneys, and all other persons acting in concert or participating with it,

who receive actual notice of the injunction order by personal or other service to cease all acts of

direct and secondary copyright infringement relating to the use of the Anaconda Distribution and

Anaconda’s conda-compatible packages;

         C.        A permanent injunction that includes all terms necessary to prevent and restrain

infringement of the Anaconda Distribution and Anaconda’s conda-compatible packages;

         D.        An award of damages adequate to compensate Anaconda for the infringement that

has occurred pursuant to 17 U.S.C. § 504(b), or in the alternative, statutory damages pursuant to

17 U.S.C. § 504(c);



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         E.        Any additional damages, including punitive or exemplary damages, as the Court

determines is appropriate and/or to deter willful infringement;

         F.        An accounting and/or supplemental damages to account for harm occurring after

any discovery cut-off;

         G.        An order impounding or destroying all infringing articles pursuant to 17 U.S.C.

§ 503, including, as necessary, while this action is pending;

         H.        An order awarding Anaconda prejudgment and post-judgment attorneys’ fees,

interest, statutory costs and expenses; and

         I.        An order awarding Anaconda any other relief, in law and in equity, that this Court

deems just and proper.

                                           JURY DEMAND

         Under Rule 38 of the Federal Rules of Civil Procedure, Anaconda demands trial by jury on

all issues so triable.



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